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UNITED STATES DISTRICT COURT                                                 *                          *
EASTERN DISTRICT OF NEW YORK                                                 BROOKLYN OFFICE
----------------------------------------------------------X
OSCAR L. SANDERS,

                          Plaintiff,                           MEMO    DUM
                                                               AND ORDER
                 v.                                             18-CV- ·079 (WFK) (VMS)

RICHARD A. BROWN, Queens Di~trict Attorney,

                          Defendant.
---------------------------------------------------X
WILLIAM F. KUNTZ, II, United States District Judge:

        On September 4, 2018, plaintiff Oscar L. Sanders, currently ncarcerated at Clinton

Correctional Facility, filed this prose action against defendant Rich rd A. Brown alleging false

arrest and malicious prosecution. On September 24, 2018, the Co          granted plaintiffs

application to proceed in forma pauperis. The complaint is dismiss d as set forth below.

                                              BACKGROUND

        Plaintiff alleges that his 2010 conviction was dismissed in 2 16. Compl. at 3-4, ECF No.

1. In support of his claim, plaintiff attaches a New York Court of       peals decision reversing his

conviction. See Pl. Exhibit A, People v. Sanders, 26 N.Y.3d 773 (2016) (holding that

warrantless search and seizure of plaintiff's clothing left in plastic   J
                                                                         g on floor of hospital room

was unlawful). Plaintiff alleges he was released from custody but d es not provide the date of

release. Compl. at 4. Plaintiff is now incarcerated on a separate co viction. Compl. at 1.

        In 2011, plaintiff filed a civil rights complaint against Polic Officer Anthony Siano,

District Attorney Richard A. Brown and Pamela Jordan based on th same arrest at issue here.

See Sanders v. Siano, 11-CV-2203 (RRM) (LB) (filed Apr. 12,201 ). The complaint was
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 dismissed as to Brown and Jordan, but the complaint was allowed to proceed as to Police Officer

 Anthony Siano. See 11-CV-2203, Memorandum and Order, ECF N . 6.

         The case was administratively closed until the conclusion of laintiffs appeal of his

 conviction. See l 1-CV-2203, ECF No. 23. Although a decision on laintiffs direct appeal was

 issued on February 23, 2016, Pl. Exhibit A, plaintiff did not move to lift the stay imposed in

 Sanders v. Siano, 11-CV-2203 (RRM)(LB).

                                     STANDARD OF REVIEW

         In reviewing the complaint, the Court is mindful that plainti is proceeding pro se and

 that her pleadings should be held "to less stringent standards than fo      al pleadings drafted by

 lawyers." Hughes v. Rowe, 449 U.S. 5, 9 (1980); accord Erickson v Pardus, 551 U.S. 89, 94

 (2007); Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009). A complailt, however, must plead

 "enough facts to state a claim to relief that is plausible on its face."   ell Atlantic Corp. v.

 Twombly, 550 U.S. 544, 570 (2007). "A claim has facial plausibilit when the plaintiff pleads

 factual content that allows the court to draw the reasonable inferenc that the defendant is liable

 for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678 ( 009). While "detailed

factual allegations" are not required, "[a] pleading that offers 'label and conclusions' or 'a

formulaic recitation of the elements of a cause of action will not do. " Id (quoting Twombly,

550 U.S. at 555). Similarly, a complaint is insufficient to state a cl ·m "if it tenders 'naked

assertion[s]' devoid of 'further factual enhancement."' Id. (quoting wombly, 550 U.S. at 557).

Nonetheless, the Court must screen a civil complaint brought by pri oners against a

governmental entity or its agents and dismiss the complaint or any ortion of the complaint that

is "frivolous, malicious, or fails to state a claim upon which relief ay be granted." 28 U.S.C.


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§§ 1915A(a) & (b)(l);see Abbas v. Dixon, 480 F.3d 636,639 (2d Ci. 2007). Similarly, pursuant

to the in forma pauperis statute, the court must dismiss the action fon the same reasons or if the

plaintiff "seeks monetary relief from a defendant who is immune fro            such relief." 28 U.S.C. §

1915(e)(2)(B).

                                           DISCUSSION

       Plaintiff alleges malicious prosecution and false arrest which are claims cognizable under

42 U.S.C. § 1983. This section provides, in pertinent part:

            Every person who, under color of any statute, ordin               ce, regulation,
            custom, or usage, of any State or Territory or the Distri         t of Columbia,
            subjects, or causes to be subjected, any citizen of the           nited States or
            other person within the jurisdiction thereof to the dep           ivation of any
            rights, privileges, or immunities secured by the Constit           tion and laws,
                                                                          1
            shall be liable to the party injured in an action at law, s       it in equity, or
            other proper proceeding for redress....

42 U.S.C. § 1983. This statute "creates no substantive rights; it pro ides only a procedure for

redress for the deprivation of rights established elsewhere." Sykes v. James, 13 F.3d 515, 519

(2d Cir. 1993) (citation omitted); see also Thomas v. Roach, 165 F.3 137, 142 (2d Cir. 1999).

In order to maintain a § 1983 action, a plaintiff must show that the d fondant (a) acted under

color of state law (b) to deprive the plaintiff of a right arising under he Constitution or federal

law. Cornejo v. Bell, 592 F.3d 121, 127 (2d Cir. 2010) (citing Pitch ll v. Callan, 13 F.3d 545,

547 (2d Cir. 1994)).

       To prevail on a Section 1983 claim for malicious prosecutio , the plaintiff must show

"( 1) that the defendant commenced or continued a criminal proceed· g against him; (2) that the

proceeding was terminated in the plaintiffs favor; (3) that there wa no probable cause for the

proceeding; and (4) that the proceeding was instituted with malice." Kinzer v. Jackson, 316 F .3d

139, 143 (2d Cir. 2003) (citations omitted). However, even if these actors are met, prosecutors


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enjoy absolute immunity from malicious prosecution claims as long        they are acting within the

traditional prosecutorial function. See Imbler v. Pachtman, 424 U.S. 409, 430 (1976); Simon v.

City ofNew York, 727 F.3d 167, 171 (2d Cir. 2013); Shmueli v. City ifNew York, 424 F.3d 231,

236 (2d Cir. 2005); Bernard v. Cty. ofSuffolk, 356 F.3d 495, 504 (2, Cir. 2004).

       Plaintiff's complaint cannot proceed against District Attorn] Richard A. Brown. First,

plaintiff fails to allege any facts to show that defendant Brown was personally liable for the

alleged deprivation of his constitutional rights. See generally Comp. Rather, it appears that

plaintiff names District Attorney Brown based on his role as a supe1isor. The United States

Supreme Court has held that "[b]ecause vicarious liability is inappli,able to ... § 1983 suits, a

plaintiff must plead that each Government-official defendant, throu     the official's own

individual actions, has violated the Constitution," and rejected the ar ument that "a supervisor's

mere knowledge of his subordinate' s discriminatory purpose amoun s to the supervisor's

violating the Constitution." Iqbal, 556 U.S. at 676-77. Since the cl ·m against this supervisor

defendant, as presently stated, can be supported only on the basis of he respondeat superior or

vicarious liability doctrines, which are not applicable to § 1983 actio s, the claims against

defendant Brown are dismissed pursuant to 28 U.S.C. §§ 1915A(b); 1915(e)(2)(B).

       Second, it is clear that to the extent plaintiff sues District Att rney Brown for performing

traditional prosecutorial functions, he is entitled to prosecutorial im unity. "Prosecutorial

immunity from § 1983 liability is broadly defined, covering 'virtuall all acts, regardless of

motivation, associated with [the prosecutor's] function as an advoca e." Hill v. City ofNew

York, 45 F.3d 653, 661 (2d Cir. 1995) (citation omitted). Such prot ted conduct includes when

the prosecutor "initiat[es] and pursu[es] a criminal prosecution," see Shmue/i, 424 F.3d at 236

(quotation omitted), and acts undertaken "in preparing for the initiat on of judicial proceedings or



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for trial," see id. at 236-37 (quotation omitted), even if the prosecuto makes false statements

during judicial proceedings, see Burns v. Reed, 500 U.S. 478,490 (1 91), knowingly uses false

testimony, Shmueli, 424 F.3d at 237, deliberately withholds exculpa ory evidence, id., or engages

in malicious prosecution, id. at 238. See also Imbler, 424 U.S. at 43 n.33.

                                         CONCLUSION

        Accordingly, the complaint, filed in forma pauperis, is dismi sed against defendant

District Attorney Richard A. Brown pursuant to 28 U.S.C. §§ 1915 (b); 1915(e)(2)(b).

       However, the case is dismissed without prejudice to plaintiff Iling a written application

in his prior case, Sanders v. Siano, 11-CV-2203 (RRM) (LB), to lift he stay imposed. Any

claims related to his 2010 conviction should be filed in Sanders v. Si no, 11-CV-2203

(RRM)(LB). 1

       The Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that       y appeal from this order

would not be taken in good faith and therefore in forma pauperis sta us is denied for the purpose

of an appeal. Coppedge v. United States, 369 U.S. 438, 444-45 (196 ).

                                              SO ORDERED.




                                                                  s/WFK

                                              United States District J

Dated: October 29, 2018
       Brooklyn, New York




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   The case was assigned by random selection to this docket rather t an to Judge Mauskopf as a
related case because plaintiff failed to notify the Court that he had a rior case, and when he filed
this new action, his name and prison identification number did not atch his prior case.

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